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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND
                                      Southern Division


ANGELITA BAILEY,                             :
                                             :
individually, and on behalf of               :
all others similarly situated,               :
                                             :       Civil Action No. 8:23-cv-827-DKC
                      Plaintiff,             :
                                             :
v.                                           :
                                             :
MERCURY FINANCIAL, LLC,                      :
                                             :
                  Defendant.                 :
____________________________________

       PLAINTIFF’S SURREPLY IN OPPOSITION TO DEFENDANT’S MOTION TO
     COMPEL ARBITRATION AND STAY PROCEEDINGS AND TO STRIKE CLASS
                             ALLEGATIONS

       Plaintiff, Angelita Bailey, files this Surreply to respond to five new arguments, a new

declaration and a new document from Defendant Mercury Financial, LLC (“Mercury”), in its

Reply in Support of Motion to Compel Arbitration and Stay Proceedings and Strike Class

Allegations. See ECF No. 15 (the “Reply”).

I.     Introduction

       Most of the arguments in Mercury’s Reply were already refuted in Plaintiff’s Opposition

to Mercury’s motion. See ECF No. 11 (the “Opposition”). Plaintiff will not address those

arguments again here. However, Mercury’s Reply included five new arguments, which it

contends are supported in part by a new declaration (see ECF No. 15-1) (the “New Declaration”)

and a new document (see ECF No. 15-2) (the “New Terms of Use”). Plaintiff never had the

opportunity to see or respond to the new arguments or affidavit in her Opposition.

       Mercury’s five new arguments are:
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   1. That Mercury is the agent of First Bank & Trust;

   2. That FB&T sold Plaintiff’s account directly to Velocity;

   3. That federal law requires Mercury to provide Plaintiff advance notice of changes to the

       arbitration and delegation clauses which Mercury relies upon here;

   4. That the language of the Cardholder Agreement prohibits retroactive changes to the

       arbitration and delegation clauses; and,

   5. That the Court should save the arbitration and delegation clauses in the Plaintiff’s illegal

       loan agreement from being illusory by applying the equitable “implied covenant of good

       faith and fair dealing.”

       Although Plaintiff did not have the opportunity to respond to Mercury’ new documents

or arguments in the normal course of briefing, none of these documents or arguments support

compelling Plaintiff to arbitrate, as discussed below.

II.    Mercury Has Provided No Evidence that It Is the Agent of the Owner of
Plaintiff’s Account

       First, Mercury has provided no evidence to support its new argument that it is FB&T’s

agent, only an unsupported allegation in a brief. In any event, FB&T sold Plaintiff’s account

long ago, so if Mercury really was FB&T’s agent it would not make a difference.

       As discussed in Plaintiff’s Opposition to Mercury’s motion to compel arbitration, one of

the reasons that Mercury cannot compel arbitration is that it the arbitration and delegation

clauses that Mercury relies upon do not even purport to be agreements between Plaintiff and

Mercury, and do not purport to benefit Mercury or to allow Mercury to invoke them. Instead,

the arbitration and delegation clauses, by their terms, purport only to be agreements between

FB&T and Plaintiff.




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         In its Reply, Mercury addresses that argument by repeatedly making the unsupported

new argument that “Mercury is nonetheless covered by the Arbitration Provision as a Related

Party because it is FB&T’s agent.” Reply at 15 (emphasis added). But despite filing two

affidavits – including the new affidavit with its Reply brief – Mercury has provided absolutely no

evidence that it “is FB&T’s agent.” Instead, Mercury’s original declaration claims that FB&T

assigned it servicing rights in 2017 (see ECF No. 7-2 ¶ 5) and its New Declaration claims that

FB&T assigned it servicing rights in 2018 (see ECF No. 15-1 ¶ 7). But neither declaration presents

any evidence that any assignment of servicing rights carried with it the status of being FB&T’s

agent.

         And though Mercury submits its New Terms of Use to support its argument that it is

FB&T’s agent, that new document actually supports reaching the opposite conclusion. The New

Terms of Use do not ever refer to Mercury as FB&T’s agent. Instead, they permit Mercury to

“disclose and transfer any information that you provide through this Website or through other

communication with us: (i) to FB&T[‘s] … agents.” ECF No. 15-2. If anything, that provision

suggests that Mercury is not FB&T’s agent, as it identifies FB&T’s agents as separate parties with

whom it can share information. Furthermore, the New Terms of Use are dated June 24, 2021 –

ECF No. 15-2 at 7 – which, according to Mercury’s own New Declaration was long after

Plaintiff’s account was assigned away from FB&T. See, e.g., ECF No. 15-1 ¶ 8 (claiming Plaintiff’s

account was assigned by FB&T to Velocity in October, 2020).

         Which leads to the perhaps more important point that Mercury has presented no

evidence that it is or ever was the agent (or even servicer) of the current owner of the account.

That is crucially important. Again, Mercury’s new affidavit states that FB&T sold its rights to

Velocity some three years ago. See ECF No. 15-1 at ¶ 8. The assignment means that Velocity



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now stands in FB&T’s shoes – and now, only Velocity and its agents would be able to invoke any

arbitration or delegation clauses, not Mercury:

        This Court has observed that an assignment allows a third party to “stand in the
        shoes” of an original party to the contract, Miller v. Pac. Shore Funding, 224 F. Supp.
        2d 977, 996 (D. Md. 2002), “transfer[ring] all interests in the property from the
        assignor to the assignee.” Roberts v. Total Health Care, Inc., 349 Md. 499, 709 A.2d
        142, 148 (Md. 1998). As Judge Blake of this Court has previously noted, an
        assignment effectively replaces the name of the assignor in the contract with that
        of the assignee, removing any need for a contract to anticipate an assignee by, for
        example, specifically naming him as a future party. Graham v. Santander Consumer
        USA, Inc., No. CCB-17-3148, 2018 WL 2462881 at *2, 2018 U.S. Dist. LEXIS
        91802 at *6 (D. Md. June 1, 2018).

Holloman v. Consumer Portfolio Servs., Inc., No. CV RDB-23-134, 2023 WL 4027036, at *8 (D. Md.

June 15, 2023). Critically, Mercury provides no evidence, or even any claim, that it is the agent

or even servicer of the account’s current owner, Velocity.

        In fact, this case is the “flip side” of Holloman v. Consumer Portfolio Servs., Inc. In Holloman, the

plaintiff argued that an undisputed agent of the assignee was not able to compel arbitration

because it was not the agent of the assignor – but the Court rejected that argument because the

assignee had replaced the assignor, and stood in its shoes. See id. So, in Holloman, the assignee’s

agent was covered by the arbitration clause – but the assignor’s agent would not have been

because it sold its rights away.

        The situation here is the opposite of Holloman. Here, Mercury claims only to be the agent

of the assignor, FB&T, who was long ago replaced by the assignee, Velocity. Mercury does not

even claim to be an agent of the assignee Velocity – so when Velocity took assignment of

Plaintiff’s account, any rights that Mercury had as the purported agent of the assignor were

extinguished and those rights only apply to Velocity’s agents. See Holloman, 2023 WL 4027036, at

*8.




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       Mercury has not shown that it is an agent of the owner of Plaintiff’s account, which is one

reason, among the many reasons discussed in the Opposition, that no arbitration agreement

exists between Mercury and Plaintiff.

III. Mercury’s New Affidavit Creates A Dispute of Material Fact and
Demonstrates the Need for Discovery

       Mercury’s New Declaration introduces purported facts about the assignment of Plaintiff’s

account which conflict with its prior declarations, creating disputes of material fact highlighting

the need for discovery.

       Where the facts about concerning assignment of arbitration rights are ambiguous,

discovery is appropriate. See, e.g., Kennedy v. LVNV Funding LLC, No. CV1810695JMVCLW, 2019

WL 1789477, at *3 (D.N.J. Apr. 24, 2019)(“the Court finds that arbitrability is ambiguous on the

face of the Complaint and documents relied upon therein; it is unclear whether an arbitration

agreement exists between the parties to this action.”); Page v. N.A.R. Inc., No.

18CV2200KSHCLW, 2019 WL 1370146, at *4 (D.N.J. Mar. 26, 2019) (plaintiff “must be given

the opportunity to conduct limited discovery into whether [original creditor] Crest validly

assigned its rights to [debt buyer] NAR and thereby enabled NAR to invoke the arbitration

provision”); Lance v. Midland Credit Mgmt. Inc., 375 F. Supp. 3d 604, 616 (E.D. Pa. 2019) (“we have

no basis today to find Synchrony Bank sold its ‘rights’, including the right to arbitrate, when it

sold its ‘Accounts’ to Midland Funding in a Bill of Sale. We are not reviewing a question of

whether Mr. Lance agreed to arbitrate. We are instead reviewing whether Synchrony Bank's

assignment of its ‘Accounts’ includes the separate “rights” to arbitrate. Midland needs to show us

what it purchased. As of today, it has not done so.”)




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       Here, as in Lance, Mercury has not shown the Court that it is the holder of a right to

arbitrate – and its claims about when and to whom rights in Plaintiff’s account was sold are

conflicting and confusing. In particular, Velocity’s state District Court affidavit and supporting

documents claim that Velocity acquired Plaintiff’s account from CreditShop, Mercury’s

predecessor – but Mercury’s New Declaration now claims that Velocity acquired Plaintiff’s

account directly from FB&T. See ECF No. 11-2 at 2 ¶ 3, 46; see also ECF No. 15-1 ¶ 8. And, as

mentioned above, Mercury’s original declaration claims that FB&T assigned it servicing rights in

2017 (see ECF No. 7-2 ¶ 5) but its New Declaration claims that FB&T assigned it servicing rights

in 2018 (see ECF No. 15-1 ¶ 7). Aside from these materially conflicting claims, Mercury’s New

Declaration does not provide any facts about those assignments, or what rights were assigned

from FB&T to CreditShop, or what rights were assigned from CreditShop to Velocity, or why its

information about assignment is different from what was presented to the state District Court. As

a result, Plaintiff and the Court are left with only Mercury’s conflicting declarations and the spare

and incomplete documents which the current owner Velocity filed in the state District Court. See

Plaintiff’s Opposition, Exh. 2. Those documents state that Velocity is the current owner of the

account, and leave no reason to believe that Mercury has any arbitration or delegation rights.

Instead, the currently available documents paint a very incomplete picture. Many salient facts

concerning the multiple assignments of Plaintiff’s account have been obscured by Mercury’s

conflicting claims and failure to submit any documents concerning those assignments. Discovery

is necessary to clarify who was sold what rights, and when.

       Accordingly, to the extent that the Court entertains Mercury’s argument that it can

invoke arbitration or delegation clauses which never mention it, discovery is necessary to flesh

out the facts concerning assignment and what rights were assigned to whom – for example,

according to the documents Velocity submitted under affidavit in the state District Court, a

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“Management Agreement,” “Asset Purchase Agreement,” and “Interim Servicing Agreements”

related to Plaintiff’s loan were apparently assigned on November 9, 2017, and would bear on

Mercury’s current status – particularly because Mercury claims to be a “servicer” and at least

two of the agreements mentioned concern servicing in their title. See Exh. 2 to Opp. at 42-45. In

addition, the rights assigned to Velocity are apparently specified in a “Purchase and Sale

Agreement dated January 30, 2020” related to Plaintiff’s loan See id. at 46. To the extent Mercury

is arguing that it has an existing arbitration or delegation agreement with Plaintiff that was not

assigned away under those agreements, it is essential that Plaintiff and the Court at least have the

opportunity to see those agreements and what they actually say about what rights are or are not

assigned.

       The details of the multiple assignments and the rights assigned are material to the

question at hand – indeed, Mercury’s own declarations in support of its motion to compel

arbitration reference the assignments repeatedly. But the details of the assignments are not

currently available to Plaintiff or the Court; they are contained in the agreements described

above which have not been produced. On this sparse record, the Court cannot conclude that

Mercury is entitled to arbitrate as a matter of law. Discovery is necessary. See, e.g., Fed.R.Civ.P.

56(d); Rose v. New Day Fin., LLC, 816 F.Supp.2d 245, 252 n. 5 (D.Md.2011); Whitten v. Apria

Healthcare Grp., Inc., No. PWG-14-CV-3193, 2015 WL 2227928, at *4 (D. Md. May 11, 2015).

IV.   Federal Law Does Not Require Advance Notice of Changes to the Purported
Arbitration or Delegation Agreements.

       Mercury also newly argues that the arbitration and delegation clauses at issue are not

illusory despite the unilateral change-in-terms clause which applies to them on the supposed

grounds that “federal law requires that credit card companies provide their cardholders with

advance written notice of, and a right to reject, any “significant change in account terms,”


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including changes to disputes and dispute resolution. 12 CFR1026.9(c)(2)(i) and (ii);

1026.6(b)(2)(xv); 1026.9(c)(2)(iv)(B).

        Mercury’s argument is misleading at best. Nothing in the cited regulations even arguably

requires disclosure of changes to arbitration or delegation agreements. Instead, the regulations

Mercury points to require that credit card holders be given notice of their rights to dispute charges

to the credit card or any changes to those rights to dispute charges to the credit card.

        Looking to the first regulation Mercury cites, 12 CFR 1026.9(c)(2)(i) requires that:

        when a significant change in account terms as described in paragraph
        (c)(2)(ii) of this section is made, a creditor must provide a written notice of the
        change at least 45 days prior to the effective date of the change to each consumer
        who may be affected.

Id. (emphasis added).

        Under this regulation, the only “significant change in account terms” for which notice is

required is defined by paragraph (c)(2)(ii). See id. That subsection provides that a “significant

change in account terms” – the only thing which triggers notice – is limited to:

        a change to a term required to be disclosed under § 1026.6(b)(1) and (b)(2), an
        increase in the required minimum periodic payment, a change to a term required
        to be disclosed under § 1026.6(b)(4), or the acquisition of a security interest.

12 CFR 1026.9(c)(2)(ii).

        None of the items listed in subsection (c)(2)(ii) include arbitration or delegation clauses,

directly or indirectly. Mercury, however, makes the new and strained argument that arbitration

clauses are akin to the “right to dispute transactions” which must be disclosed under section

1026.6(b)(2)(xv). See Reply at 6 & n.4. But the plain language and context of the regulation refutes

that argument. The sole subsection Mercury relies upon (but never quotes) says that the following

“reference” is a required disclosure:




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       (xv) Billing error rights reference. A statement that information about
       consumers' right to dispute transactions is included in the account-opening
       disclosures.

Id. This required “statement” which informs consumers about where to find information

concerning their rights for “[b]illing error[s]” is not a requirement to disclose changes to an

arbitration or delegation clause. Instead, this required “[b]illing error rights reference” is on page

2 of Mercury’s “Cardholder Agreement.” See ECF No. 7-5 at 2 (“Billing Rights: Information on

your rights to dispute transactions and how to exercise those rights is provided in your

Cardmember Agreement.”) That required statement has nothing to do with arbitration or

delegation clauses.

       Indeed, the “Billing Rights” section which the required statement references has nothing

to do with arbitration or delegation clauses, either. See ECF No. 7-5 at 9 (titled “YOUR

BILLING RIGHTS”). Instead, the section outlines a procedure for consumers to dispute

charges; a procedure which is conspicuously different from the arbitration and delegation clauses

on the preceding page.

       In sum, the billing rights disclosures required by 12 CFR 1026.6 and 1026.9 have nothing

to do with arbitration. The regulations do not require any notice or right to reject changes to

arbitration rights. Accordingly, nothing in those regulations saves the arbitration and delegation

clauses here from being illusory.




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V.    The Language of the Unilateral Change-in-Terms Clause Does Not Prevent
Retroactive Changes.

        Mercury also newly argues that “the plain language of the modification provision requires

Mercury to give advance written notice, which necessarily requires notice of prospective

changes, rather than retrospective changes.” Reply at 6 (emphasis in original). This is incorrect.1

        Nothing in the Cardholder Agreement prevents any unilateral changes from having

retroactive effect – even if “advance” notice were given. For example, Plaintiff could get notice a

day in advance that the arbitration or delegation agreement was changing, but nothing in the

Cardholder Agreement would require any such changes to not apply to past claims; nothing in

the Cardholder Agreement even prevents such changes from applying to or forbidding

arbitrations which have already been filed. The pertinent question is whether both parties are

bound to the arbitration and delegation “agreements” – so that a mutual promise to arbitrate

exists. See Holloman v. Cir. City Stores, Inc., 894 A.2d 547, 555 (Md. 2006) (“we conclude that the

provisions of the arbitration agreement which bind Circuit City to arbitrate for at least thirty

days and for the entire year prior to the day upon which the agreement may be modified

constitute consideration”).

        Unlike the agreement in in Holloman v. Circuit City Stores, Inc., the present “Agreement”

does not preserve Plaintiff’s right to arbitrate for any period of time. Instead, it broadly says that

“this Agreement (including its Jury Trial Waiver and Arbitration Clause), may change

and we may add or delete any term.” ECF No. 7-5 at 3 (emphasis added). Unlike the plaintiff

in Holloman v. Circuit City Stores, Inc., the Plaintiff here would not have the opportunity to arbitrate



1        In addition to the reasons discussed here, the Opposition discusses other reasons the
language of the Cardholder Agreement does not require advance notice of changes. See Opp. at,
e.g., part III.C.4.

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during any period of time without fear of facing a unilateral alteration to the arbitration and

delegation agreements. See Harris v. Blockbuster Inc., 622 F. Supp. 2d 396, 399 (N.D. Tex. 2009)

(“nothing … prevents Blockbuster from unilaterally changing any part of the contract other than

providing that such changes will not take effect until posted on the website.”); Grosvenor v. Qwest

Corp., 854 F. Supp. 2d 1021, 1034 (D. Colo. 2012) (posting of changes on website did not save

illusory nature of unilateral modification clause, because “[a] notice requirement becomes

significant when it is coupled with the right to accept or reject the change.”) Moreover, because

nothing restricts the retroactive application of unilateral changes, “notice” could never save the

provision’s illusory nature:

       [where] the only express limitation on that unilateral right [to modify ‘all rules’] is
       published notice…there is nothing to suggest that once published the amendment
       would be inapplicable to disputes arising, or arising out of events occurring, before
       such publication.

Morrison v. Amway Corp., 517 F.3d 248, 254 (5th Cir. 2008)) (emphasis in Morrison). See also

Savostianov v. Fed. Advocs., Inc., 2021 WL 1026018, at *3 (D.D.C. Mar. 17, 2021) (same); McNamara

v. S.I. Logistics, Inc., 2018 WL 6573125, at *4 (D. Mass. Dec. 13, 2018) (same).

       Here, as in Morrison and unlike Holloman v. Circuit City Stores, Inc., nothing in the

“Agreement” prevents eliminating arbitration or delegation entirely or restricting it to certain

claims and disputes, retroactively. 517 F.3d at 254. As a result, it is illusory. Even where an

arbitration or delegation clause affirmatively requires notice, the absence of a promise to allow a

borrower a chance to invoke arbitration before the change becomes effective makes the

agreement illusory:

       the modification provision does include a clause that “Prosper will give you notice
       of material changes to this Agreement[.]” See, e.g., ECF No. 15-5 ¶ 14. But this is
       not a limitation on Prosper's ability to change terms in the same vein as Holloman.
       Prosper does not promise to give advance notice so that a borrower could invoke
       arbitration before a change becomes effective, nor does it contain any time
       limitation. The modification provision allows Prosper to change the arbitration

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        provision at any time. The Court is not persuaded that the notice requirement
        within the modification provision limits Prosper's discretion enough such that
        Prosper's promise to arbitrate still constitutes a binding promise.

Jones v. Prosper Marketplace, Inc., No. GJH-21-1126, 2022 WL 834210, at *16 (D. Md. Mar. 21,

2022). Plaintiff here was not promised the right to invoke arbitration before any changes to the

arbitration or delegation clauses, so they are illusory – no such agreements legally exist.

VI.    The Implied Covenant of Good Faith and Fair Dealing Cannot Save the
Illusory Arbitration and Delegation Clauses

        Mercury also newly argues that the Court should save the arbitration and delegation clauses

from being illusory by applying the “implied covenant of good faith and fair dealing,” Reply at 7-

9. But the Maryland Supreme Court in Cheek did not contemplate using an implied covenant to

save an otherwise illusory arbitration agreement. If such an implied covenant applied here it would

also have applied to Cheek. Cheek controls, and no Maryland cases allow an implied covenant to

displace Cheek’s holding that an arbitration clause subject to a unilateral modification clause is

illusory. See Nat'l Fed'n of the Blind, 904 F.3d at 87 (“the Texas cases the Container Store cites … say

nothing about good faith and fair dealing and so offer nothing to back up its lead argument.”) 2

Furthermore, this precise “good faith and fair dealing” argument was made to this Court in Jones

and rejected. See Jones v. Prosper Marketplace Inc., et al., Case No. 8:21-cv-00893-GJH, ECF No. 15-

1 at 24-25; see also Jones v. Prosper Marketplace, Inc., No. GJH-21-1126, 2022 WL 834210, at *16 (D.




2        The Maryland cases Defendant cites do not undermine Cheek. Kelley Constr. Co. v. Wash.
Suburban Sanitary Comm’n, 230 A.2d 672 (Md.1967) and Savonis v. Burke, 216 A.2d 521 (Md. 1966),
were decided decades before Cheek, and certainly cannot be read to overrule it. And Questar
Builders, Inc. v. CB Flooring, LLC, 978 A.2d 651, 672-73 (Md. 2009) distinguishes Cheek. See id.
(construing a “termination” clause in a flooring subcontract which included substantial
restrictions, and contrasting that with Cheek, where “we held that an arbitration clause authorizing
one party to “alter, amend, modify, or revoke the [arbitration p]olicy at its sole and absolute
discretion at any time with or without notice” rendered the agreement to arbitrate illusory.”)

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Md. Mar. 21, 2022) (holding, despite the defendant’s same “good faith and fair dealing” argument,

that arbitration clause was illusory).

        After all, the Fourth Circuit applied Cheek and did not apply the implied covenant of good

faith and fair dealing to save an illusory arbitration clause in Noohi – and in that case, breach of the

implied covenant of good faith and fair dealing was a claim asserted in the plaintiffs’ complaint. 708

F.3d at 603. Yet the Fourth Circuit – squarely presented with a case where the implied covenant

was at issue – did not find that the implied covenant impaired the holding of Cheek; it instead ratified

Cheek in no uncertain terms. See fn. 13. In this case, where no contract claim (including no implied

covenant claim) is even at issue, the implied covenant cannot make an illusory arbitration

agreement not illusory so as to cause it to exist.

        In addition, an implied covenant of good faith and fair dealing is implied into an existing

contract. Mercury’s attempt to imply a covenant into arbitration and delegation clauses for the

purposes of determining whether the same clauses constitute binding agreements fails for the same

cart-before-the-horse reason that a choice-of-law provision cannot be read into a contract for the

purposes of determining whether that contract exists. See G & M Oil Co. v. Glenfed Fin. Corp., 782 F.

Supp. 1078, 1083 (D. Md. 1989) (claim for breach of good faith and fair dealing “is viable only if

an underlying contract exists”).3 It bears repeating that one of Plaintiff’s claims is that no enforceable

agreement for her loan exists – any such agreements are void by operation of law. See, e.g., ECF No. 3 at ¶ 8




3       This Court has distinguished “the arbitration-clause cases” like Cheek, which hold that in
the circumstances of a severable arbitration agreement, a change in terms provision results in “an
illusory promise that ‘does not actually bind or obligate the promisor to do anything,” from
circumstances involving “an ‘open term’ that has good reason to change over time, is premised
upon a mutually enforceable agreement, and is limited by the implied covenant to act in
good faith and fair dealing.” Bindagraphics, Inc. v. Fox Grp., Inc., 377 F. Supp. 3d 565, 576 n.5 (D.
Md. 2019) (citing Cheek, 835 A.2d 656) (emphasis added).

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(“Because Mercury is in the business of making loans subject to the MCLL but it does not have an

MCLL license, its loans to Plaintiff and other Maryland consumers are ‘void and unenforceable.’

MCLL § 12-3l4(b)(1)(i).”). As a result, Plaintiff does not make any claim that is predicated upon the

existence of any contract. Her claim is instead, that no contract exists. Moreover, the “clean hands”

doctrine bars Mercury from relying on equity to create a contract where it is engaged in illegal,

unlicensed lending. See Hill v. Cross Country Settlements, LLC, 936 A.2d 343, 360 (Md. 2007)(“[C]ourts

of equity will not lend their aid to anyone … guilty of … illegal, or inequitable conduct in the

matter with relation to which he seeks assistance.”)

       Finally, the covenant of good faith and fair dealing in Maryland cannot be used to

contradict the express terms of a contract. Enfield Equip. Co. v. John Deere Co., 64 F. Supp. 2d 483,

486 (D. Md. 1999). Here, the unilateral change in terms provision expressly permits changes to

any term of the arbitration agreement and does not require any notice unless the law requires it.

ECF No. 7-5 at 3. To use the implied covenant to contradict this language, so that the unilateral

change in terms provision instead does require notice even where the law does not require it, and

does guarantee Plaintiff a right to opt-out of any changes, would impermissibly contradict the plain

language of the agreement.

VII.   Conclusion

       For the reasons set forth above, and in her Opposition, Plaintiff respectfully requests that

the Court deny Mercury’s Motion To Compel Arbitration And Stay Proceedings And To Strike

Class Allegations (ECF No. 7).

                                       Respectfully submitted,

                                       /s/Benjamin H. Carney
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                                       Benjamin H. Carney (Fed. Bar No. 27984)
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